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                      IN THE UNITED STATES BANKRUPTCY COURT
  1                    FOR THE NORTHERN DISTRICT OF TEXAS
                               FORT WORTH DIVISION
  2
      In Re:                             )    Case No. 20-40349-elm11
  3                                      )
      EVENTIDE CREDIT                    )    Fort Worth, Texas
  4   ACQUISITIONS, LLC,                 )    June 9, 2020
                                         )    9:30 a.m. Docket
  5             Debtor.                  )
                                         )    RENDER RULING - CONSUMER
  6                                      )    BORROWERS' MOTION FOR AN ORDER
                                         )    DISMISSING THE DEBTOR'S
  7                                      )    CHAPTER 11 CASE OR, IN THE
                                         )    ALTERNATIVE, FOR ABSTENTION
  8                                      )    (#123)
                                         )
  9                                      )
      EVENTIDE CREDIT                    )    Adversary Proceeding 20-4008-elm
 10   ACQUISITIONS, LLC,                 )
                                         )
 11             Plaintiff,               )    RENDER RULING - CONSUMER
                                         )    BORROWERS' MOTION TO DISMISS
 12   v.                                 )    (#82)
                                         )
 13   GALLOWAY, ET AL.,                  )
                                         )
 14             Defendants.              )
                                         )
 15                                      )
      EVENTIDE CREDIT                    )    Adversary Proceeding 20-4030-elm
 16   ACQUISITIONS, LLC,                 )
                                         )
 17             Plaintiff,               )    RENDER RULING - MOTION TO
                                         )    DISMISS ADVERSARY PROCEEDING
 18   v.                                 )    FOR LACK OF SUBJECT MATTER
                                         )    JURISDICTION (#18)
 19   BIG PICTURE LOANS, LLC;            )
      ASCENSION TECHNOLOGIES,            )
 20   LLC; AND TRIBAL ECONOMIC           )
      DEVELOPMENT HOLDINGS, LLC,         )
 21                                      )
                Defendants.              )
 22                                      )
 23                         TRANSCRIPT OF PROCEEDINGS
                     BEFORE THE HONORABLE EDWARD L. MORRIS,
 24                      UNITED STATES BANKRUPTCY JUDGE.
 25
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  1   TELEPHONIC APPEARANCES:
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  9   LLC; and Tribal Economic    Scott Drake
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 19
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 20   Borrowers:                         CONSUMER LITIGATION ASSOCIATES
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 21                                        Suite 1A
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 22                                      (757) 930-3660
 23   For the Consumer                   Michael Allen Caddell
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 25                                      (713) 751-0400
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      TELEPHONIC APPEARANCES, cont'd.:
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                                         COLE SCHOTZ P.C.
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 25             transcript produced by transcription service.
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  1                 FORT WORTH, TEXAS - JUNE 9, 2020 - 9:32 A.M.

  2             THE COURT:        All right.     Good morning, everybody.

  3   We're on the June 9, 2020 9:30 a.m. docket.               We have the

  4   Eventide Credit Acquisitions, LLC case, Case 20-40349; the

  5   Eventide Credit Acquisitions, LLC versus Galloway, et al.

  6   case, Adversary No. 20-4008; and the Eventide Credit

  7   Acquisitions, LLC versus Big Picture Loans, et al. case,

  8   Adversary No. 20-4030.

  9        Even though this is for purposes of rendering a ruling on

 10   a number of matters, let me go ahead and at least entertain

 11   the opportunity for appearances for counsel that wish to make

 12   them.    Let me start with counsel for the Debtor.

 13             MR. PROSTOK:         Good morning, Your Honor.        Jeff Prostok

 14   for the Debtor.

 15             THE COURT:        All right.     Good morning, Mr. Prostok.

 16             MS. SIMMONS:         Good morning, Your Honor.        Bethany

 17   Simmons; Loeb & Loeb, LLP; for the Debtor as well.

 18             THE COURT:        All right.     Good morning to you.        All

 19   right.    Do I have anybody on behalf of the Consumer Borrower

 20   Group?

 21             MR. MUENKER:         Good morning, Your Honor.        James

 22   Muenker and Pat Neligan for the Consumer Borrowers.

 23             THE COURT:        All right.     Good morning to both of you.

 24             MR. CADDELL:         Good morning, Your Honor.        Mike Caddell

 25   for the Consumer Borrowers.
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  1             THE COURT:       All right.     Good morning.      Do we have

  2   anybody else?

  3             MR. BENNETT:        Good morning, Judge.       This is --

  4             THE COURT:       Go ahead.

  5             MR. BENNETT:        Yes, sir.    This is Leonard Bennett for

  6   the Consumer Borrowers, Judge.

  7             THE COURT:       All right.     Any additional appearances on

  8   behalf of the Consumer Borrowers?

  9        All right.        How about for the -- what we've commonly

 10   referred to as the Tribal Defendants:             Big Picture Loans,

 11   Ascension Technologies, and Tribal Economic Development

 12   Holdings?

 13             MR. DRAKE:       Good morning, Your Honor.         This is Scott

 14   Drake from Norton Rose Fulbright.            I have my colleagues Toby

 15   Gerber and Steve Peirce, and also our co-counsel from the

 16   Rosette firm, Justin Gray and Anna Bruty.

 17             THE COURT:       All right.     Good morning to all of you.

 18   How about for the Committee?

 19             MR. LEIBOWITZ:        Good morning, Your Honor.          Gary

 20   Leibowitz of Cole Schotz on behalf of the Committee.                 And I

 21   have my colleagues Irving Walker and H.C. Jones on as well.

 22             THE COURT:       Good morning to you all.         And then how

 23   about for Matt Martorello?

 24             MR. PHELAN:       Your Honor, Robin Phelan for Matt

 25   Martorello.
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  1             THE COURT:       All right.      Do we have any other counsel

  2   that wish to make a live appearance for today's proceeding?

  3             MS. SCHMIDT:        Good morning, Your Honor.        Erin Schmidt

  4   for the U.S. Trustee.

  5             THE COURT:       Good morning, Ms. Schmidt.

  6             MS. SCHMIDT:        Thank you.

  7             THE COURT:       All right.      Any other parties?

  8        All right.        Very good.

  9        Before the Court for determination are four motions:                   two

 10   in the main Bankruptcy Case, Case No. 20-40349, which I'll

 11   simply refer to as the "Bankruptcy Case," one in Adversary

 12   Proceeding No. 20-4008, which I'll refer to as "Adversary

 13   4008," and one in Adversary Proceeding No. 20-4030, which

 14   I'll refer to as "Adversary 4030."

 15        Specifically before the Court in the Bankruptcy Case are

 16   the following motions.         First, there is a motion for an order

 17   dismissing the Debtor's Chapter 11 case, or in the

 18   alternative, for abstention, filed at Docket #123 by a group

 19   of 34 individuals who collectively refer to themselves as the

 20   "Consumer Borrowers."         I'll refer to this motion as the

 21   "Bankruptcy Dismissal Motion" and refer to this group of

 22   Movants as the "Consumer Borrowers."

 23        Both Eventide Credit Acquisitions, LLC, or the "Debtor"

 24   for short, the Chapter 11 Debtor in the Bankruptcy Case, and

 25   Matt Martorello, or "Martorello" for short, the Debtor's
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  1   president and a significant indirect equity owner of the

  2   Debtor, have filed a response in opposition to the Bankruptcy

  3   Dismissal Motion, the Debtor's response at Docket #148 and

  4   Martorello's response at Docket #149.

  5        The Official Committee of Unsecured Creditors, or the

  6   "Committee" for short, has filed a Memorandum in Support of

  7   the Bankruptcy Dismissal Motion at Docket #151, to which

  8   Martorello has filed a response at Docket #172.

  9        Finally, the Consumer Borrowers have filed a reply to the

 10   responses in opposition to the Bankruptcy Dismissal Motion at

 11   Docket #177.

 12        The Bankruptcy Dismissal Motion was heard by the Court on

 13   May 28, 2020.

 14        Second, there is a Motion for Entry of Interim and Final

 15   Orders pursuant to 11 U.S.C. Sections 105, 362, 363, 364, and

 16   507, Bankruptcy Rules 2002, 4001, 6004, and 9014:                  (1)

 17   authorizing the Debtor-in-Possession to obtain postpetition

 18   financing; (2) granting liens and providing administrative

 19   expense status; and (3) granting related relief, filed at

 20   Docket #153 by the Debtor, as supplemented by the Notice of

 21   Filing of Proposed Amended and Restated Debtor-in-Possession

 22   Financing and Security Agreement filed at Docket #181.                   I'll

 23   refer to this motion, as supplemented, as the "Financing

 24   Motion."

 25        Both the Committee and the Consumer Borrowers have filed
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  1   an objection to the Financing Motion, the Committee's

  2   objection at Docket #168 and the Consumer Borrowers'

  3   objection at Docket #207.

  4        The Financing Motion was heard by the Court on May 29,

  5   2020.

  6        Third, in Adversary 4008, there is the Motion to Dismiss

  7   filed at Docket #82 in Adversary 4008 by the Consumer

  8   Borrowers, who are all of the remaining defendants in the

  9   action.       I'll refer to this motion, along with the Consumer

 10   Borrowers' Memorandum in Support at Docket #83 in Adversary

 11   4008, as the "Adversary 4008 Dismissal Motion."

 12        The Debtor has filed its objection to the motion at

 13   Docket #86 in Adversary 4008.            The Consumer Borrowers have

 14   filed their reply at Docket #93 in Adversary 4008.

 15        The Adversary 4008 Dismissal Motion was heard by the

 16   Court on May 28, 2020.

 17        Finally, in Adversary 4030, there is the Specially-

 18   Appearing Tribal Defendants' Motion to Dismiss for Lack of

 19   Subject Matter Jurisdiction filed at Docket #18 in Adversary

 20   4030 by the Defendants Tribal Economic Development Holdings,

 21   LLC, or "TED" for short; Big Picture Loans, LLC, or "Big

 22   Picture" for short; and Ascension Technologies, LLC, or

 23   "Ascension" for short, and together with TED and Big Picture,

 24   collectively referred to as the Tribal Defendants.                  I'll

 25   refer to this motion along with the Tribal Defendants' brief
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  1   and appendix in support filed at Docket #19 and #21 in

  2   Adversary 4030, respectively, as the "Adversary 4030

  3   Dismissal Motion."

  4        The Debtor has filed its objection to the motion at

  5   Docket #26 in Adversary 4030.           The Tribal Defendants have

  6   filed their reply at Docket #29 in Adversary 4030.

  7        The Adversary 4030 Dismissal Motion was heard by the

  8   Court on June 4, 2020.

  9        Having now considered the Bankruptcy Dismissal Motion,

 10   the Financing Motion, the Adversary 4008 Dismissal Motion,

 11   the Adversary 4030 Dismissal Motion, the respective

 12   previously-referenced responses, statements of position,

 13   objections and replies, as applicable to each of the

 14   aforementioned motions, the evidence introduced at the

 15   hearings conducted on May 28th and 29th and June 4th, 2020,

 16   the arguments of counsel, and all prior proceedings before

 17   the Court in the Bankruptcy Case, Adversary 4008, and

 18   Adversary 4030, the Court now issues its findings and

 19   conclusions as applicable in relation to the Bankruptcy

 20   Dismissal Motion, Financing Motion, Adversary 4008 Dismissal

 21   Motion, and Adversary 4030 Dismissal Motion.

 22        Starting with the Bankruptcy Dismissal Motion, in

 23   particular, and Jurisdiction.           The Court has jurisdiction

 24   over the Bankruptcy Dismissal Motion pursuant to 28 U.S.C.

 25   Sections 1334 and 157 and the order of reference of the
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  1   United States District Court for the Northern District of

  2   Texas.    Venue is proper in this district pursuant to 28

  3   U.S.C. Sections 1408 and 1409.            The proceeding constitutes a

  4   core proceeding within the meaning of 28 U.S.C. Section

  5   157(b)(2)(A) and (O).

  6        Factual Background.         In one way or another, each of the

  7   matters pending before the Court relates to litigation that

  8   was initiated by or against the Debtor or parties affiliated

  9   with the Debtor prior to the Debtor's Chapter 11 bankruptcy

 10   filing on January 28, 2020.           Therefore, it is helpful to

 11   understand the background and nature of each of the parties

 12   involved in the disputes before the Court in order to equally

 13   understand the context in which the prepetition litigation

 14   arose.

 15        A.   Martorello, Bellicose, and the Business Relationship

 16   Established with the LVD Tribe.

 17        Martorello, being the ultimate architect of the business

 18   that led to organization of the Debtor, has a strong

 19   financial background.         He is a graduate of the University of

 20   Illinois with a double major in finance and accounting.

 21   Following graduation, he started his career in institutional

 22   corporate bond sales with Smith Barney in its investment

 23   banking analyst program.

 24        After a couple of years with Smith Barney, he worked for

 25   a few different proprietary trading firms, and thereafter he
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  1   rejoined a group of folks with whom he had interned at Arthur

  2   Anderson who had moved to the transaction services group of

  3   KPMG.   During his roughly two-year stint at KPMG, Martorello

  4   worked on a variety of transaction services projects, mainly

  5   around asset-based lending, private equity buyouts, and

  6   mergers and acquisitions.

  7        In or around 2008, however, Martorello decided to shift

  8   gears and transition from a service provider within the

  9   financial services industry to a business owner/entrepreneur

 10   within the industry.         In particular, having learned of the

 11   success that certain of his investment banker colleagues had

 12   had in putting together a consumer lending business that was

 13   eventually bought out, Martorello leveraged his own

 14   experience in the financial field in developing an online

 15   consumer lending business focused on servicing operations

 16   that utilized the same type of artificial intelligence and

 17   algorithm creation strategies that he had been exposed to in

 18   securities trading.         Ultimately, this culminated in the

 19   creation of a business named aPriori Solutions in Chicago.

 20        In mid-2011, Martorello sought to capitalize on a tax

 21   incentive program offered in the U.S. Virgin Islands and

 22   effectively reconstituted the aPriori Solutions business

 23   within a new Virgin Islands entity named Bellicose VI, Inc.,

 24   or "Bellicose VI" for short.

 25        Following the organization of Bellicose VI, the Lac Vieux
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  1   Desert Band of Lake Superior Chippewa Indians, or the "Tribe"

  2   for short, with the assistance and guidance of Bellicose VI,

  3   began to conduct an online lending business through its

  4   wholly-owned subsidiary, Red Rock Tribal Lending, LLC, or

  5   "Red Rock" for short.

  6        In this regard, on or about October 25, 2011, Bellicose

  7   VI and Red Rock entered into a servicing agreement.                 See

  8   Consumer Borrowers' May 28 Hearing Exhibit 1.

  9        As reflected by the servicing agreement, Red Rock had the

 10   exclusive right at that time to "develop and operate the

 11   Tribe's financial services business that will provide small-

 12   denomination short-term financial services and other related

 13   goods and services to consumers through its Internet call

 14   center and field representative operations."               See id.,

 15   Section 1.2.2.

 16        It was the Tribe's intention, through Red Rock, to

 17   "engage in Internet-based unsecured lending."               See id.,

 18   Section 1.2.3.

 19        Thus, with this in mind, pursuant to the services

 20   agreement, Red Rock sought to "retain and engage the

 21   Servicer" -- defined as Bellicose VI -- "as its independent

 22   contractor to consult to, develop, manage, and provide

 23   operational guidelines regarding the unsecured lending

 24   business and any expansion thereof."

 25        The term of the agreement was until the end of 2018, with
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  1   the opportunity for renewal.

  2        The Tribe subsequently also offered consumer loans

  3   through a second subsidiary named Duck Creek Financial, LLC,

  4   or "Duck Creek" for short.           Duck Creek also entered into a

  5   servicing agreement with Bellicose VI.

  6        Bellicose VI would eventually enter into other business

  7   opportunities as well, organizing separate subsidiaries to

  8   carry on each particular business.            For example, it had a

  9   proprietary trading subsidiary, a subsidiary that provided

 10   financing to a casino boat, and a subsidiary that did a salt

 11   lease deal with a travel casino.

 12        In the case of the business that it conducted with the

 13   Tribe and its subsidiaries, in 2012, Bellicose VI organized

 14   SourcePoint VI, LLC, or "SourcePoint" for short, to carry on

 15   the business, and assigned all of its rights under the

 16   servicing agreements with Red Rock and Duck Creek to

 17   SourcePoint.

 18        In or around mid-2013, the New York State Department of

 19   Financial Services, or the "NYDFS," began to take enforcement

 20   actions against various tribal entities, including the Tribe

 21   and its subsidiaries, to prevent what it asserted as

 22   impermissible usurious consumer lending.              This led to the

 23   initiation of litigation by the Tribe and a number of other

 24   tribal entities against the NYDFS and its Superintendent in

 25   August 2013 to try to prevent their interference with tribal
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  1   lending operations, which the tribal entities asserted were

  2   not subject to New York's lending laws and regulations.                  See

  3   generally Civil Action No. 1:13-CV-05930-RJS, in the United

  4   States District Court for the Southern District of New York.

  5         Their request for preliminary injunctive relief was

  6   denied by the District Court in September 2013, and the order

  7   denying relief was subsequently upheld on appeal.

  8         Having encountered this potential impediment to the

  9   online lending business, the Tribe, Martorello, and other

 10   owners of Bellicose VI began to explore the possibility of

 11   the Tribe's acquisition of Bellicose VI and SourcePoint so as

 12   to bring in-house all aspects of the lending business.

 13         With the buyout potential in play, in January 2014, the

 14   Martorello team made another change in location, this time to

 15   Puerto Rico, in order to obtain the benefit of the capital

 16   gains tax exemption available to residents of Puerto Rico.

 17   Bellicose Capital, LLC, or "Bellicose Capital" for short, was

 18   then organized as the new parent holding company of Bellicose

 19   VI.

 20         B.   Organization, Ownership, and Prepetition Control of

 21   the Debtor.

 22         Thereafter, on February 9, 2015, the Debtor was organized

 23   as a Delaware limited liability company for the purpose of

 24   serving as the special-purpose vehicle through which

 25   consideration for the sale would be received.               See Consumer
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  1   Borrowers' May 28 Hearing Exhibit 9.

  2        With respect to ownership of the Debtor, the economic and

  3   equity interest membership interests in the Debtor, being the

  4   financial membership interests in the Debtor, were issued as

  5   follows:      59.5 percent to Kairos Holding, LLC, which later

  6   became Breakwater Holding, LLC, so I'll simply refer to this

  7   entity as "Breakwater;" 25.5 percent to Gallant Capital, LLC,

  8   or "Gallant" for short; 10 percent to Martorello's brother,

  9   Justin Martorello, who I'll refer to as "Justin;" and the

 10   remaining 5 percent split up among Brian McFadden, James

 11   Dowd, and Simon Liang, who I'll collectively refer to as the

 12   "Settling Eventide Members."           See id., Schedule A.        See also

 13   Consumer Borrowers' May 28 Hearing Exhibit 22.

 14        Providing further color to the Debtor's ownership

 15   structure, both Gallant and Breakwater have connections to

 16   Martorello.     First, in the case of Gallant, the 25.5 percent

 17   owner of the Debtor, Martorello acknowledged that he is its

 18   majority owner and he signed the proof of claim filed by

 19   Gallant in the Bankruptcy Case as its Manager.               See Consumer

 20   Borrowers' May 28 Hearing Exhibit 27.

 21        Second, in the case of Breakwater, the 59.5 percent owner

 22   of the Debtor, Breakwater is a Cook Islands limited liability

 23   company wholly-owned by the Bluetech Irrevocable Trust,

 24   formerly known as the M. Martorello Irrevocable Trust, which

 25   I'll refer to as "Bluetech" or the "Bluetech Trust" for
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  1   short.

  2        Pursuant to the terms of the trust instrument governing

  3   the Bluetech Trust, the Trust Fund committed to the Trust is

  4   administered by a trustee for the benefit of so-called

  5   Discretionary Beneficiaries who have been identified on a

  6   schedule to the instrument, and any additional Discretionary

  7   Beneficiaries who the Protector of the Bluetech Trust may

  8   nominate, provided they are not Excluded Persons.                  See

  9   Committee's May 28 Hearing Exhibit 13.

 10        Martorello acknowledged that he is both the Settlor and

 11   the Protector of the Bluetech Trust, and that the current

 12   Discretionary Beneficiaries are his family members.                 Excluded

 13   Persons include, among others, all court, administrative, or

 14   judicial bodies, except for the court, administrative, or

 15   judicial bodies organized and empowered under the laws of the

 16   Cook Islands, and any and all creditors, claimants, and

 17   judgment creditors of, among others, any Settlor or any

 18   Discretionary Beneficiary.           See id.

 19        With respect to management and control of the Debtor, the

 20   operating agreement of the Debtor provides that the business

 21   and affairs of the company shall be managed by or under the

 22   direction of a Manager who may exercise all powers of the

 23   company and do all such lawful acts and things as are not, by

 24   statute, the certificate of formation, or the operating

 25   agreement, directed or required to be exercised and done by
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  1   the members having a right to vote.             See Consumer Borrowers'

  2   May 28 Hearing Exhibit 9.

  3        (Proceedings interrupted by power surge, 9:52 a.m. to

  4   9:55 a.m.)

  5             THE COURT:        All right.    Can anybody hear us?

  6        (Chorus of assents.)

  7             THE COURT:        Let me just do a quick roll call.          Do we

  8   have counsel for the Debtor?

  9             MS. SIMMONS:        Yes, Your Honor.

 10             THE COURT:        All right.    Do we have counsel for the

 11   Consumer Borrower Group?

 12             MR. BENNETT:        Yes, Your Honor.

 13             THE COURT:        All right.    Counsel for the Tribal

 14   Defendants?

 15             MR. DRAKE:        We're here, Your Honor.

 16             THE COURT:        Counsel for the Committee?

 17             MR. LEIBOWITZ:         We're here, Your Honor.

 18             THE COURT:        Counsel for Mr. Martorello?

 19             MR. PHELAN:        We're here, Your Honor.

 20             THE COURT:        All right.    And I feel like I'm

 21   forgetting somebody.

 22             MS. SCHMIDT:        Erin Schmidt for the U.S. Trustee is

 23   still on the line.

 24             THE COURT:        Ah, yes, Ms. Schmidt.       That's it.     All

 25   right.    So, --
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  1              MR. PHELAN:        I didn't hear Mr. Prostok.

  2              THE COURT:        Okay.   Do we have -- do we have Mr.

  3   Prostok?

  4        (No response.)

  5              MS. SIMMONS:        Your Honor, this is Bethany Simmons

  6   from Loeb & Loeb also on behalf of the Debtor.                I just

  7   emailed Mr. Prostok to see if he was still on or able to

  8   rejoin.

  9        (Court confers with Clerk.)

 10              THE COURT:        Okay.   And I'm sorry.      It's Ms. Simmons,

 11   right?

 12              MS. SIMMONS:        (garbled)

 13              THE COURT:        I just didn't hear you completely.           Did

 14   you send a note, did you say, to Mr. Prostok to try to dial

 15   back in?

 16              MS. SIMMONS:        Yes, Your Honor.      I sent him a note

 17   just to tell him that we were back on and to dial back in.

 18              THE COURT:        All right.    Perfect.     We'll give him a

 19   second.

 20        (Pause, 9:57 a.m. to 9:58 a.m.)

 21              THE COURT:        While we're waiting to see if he can

 22   rejoin, just so that you all know what happened:                    We had a

 23   very strange power surge in the building and literally lost

 24   all the power in the courtroom and everything, for just a

 25   second.       But it literally killed all of our systems.               So, --
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  1        (Court confers with Clerk.)

  2             THE COURT:        We just received a note that Mr. Prostok

  3   should be dialing in right now.

  4        (Court confers with Clerk.)

  5             THE COURT:        Oh.   All right.     We just heard that this

  6   was a city-wide matter.

  7        All right.        Do we have Mr. Prostok?

  8             MR. PROSTOK:        I am here, Your Honor.

  9             THE COURT:        All right.    Very good.     I was just

 10   explaining:     We apparently had some city-wide surge.              We

 11   thought it was just here in the building, but apparently it

 12   was city-wide, and it killed our system.              So, now for the

 13   trick of trying to figure out where we dropped off.

 14             MR. PHELAN:        Your Honor, I think it was right when

 15   you said Breakwater was owned by Bluetech, and then you

 16   started to talk about the beneficiaries.

 17             THE COURT:        All right.    So let's do this.        I'll start

 18   here.

 19        Providing further color to the Debtor's ownership

 20   structure, both Gallant and Breakwater have connections to

 21   Martorello.     First, in the case of Gallant, the 25.5 percent

 22   owner of the Debtor, Martorello acknowledged that he is its

 23   majority owner and he signed the proof of claim filed by

 24   Gallant in the Bankruptcy Case as its Manager.               See Consumer

 25   Borrowers' May 28 Hearing Exhibit 27.
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  1        Second, in the case of Breakwater, the 59.5 percent owner

  2   of the Debtor, Breakwater is a Cook Islands limited liability

  3   company wholly-owned by the Bluetech Irrevocable Trust,

  4   formerly known as the M. Martorello Irrevocable Trust, which

  5   I'll refer to as "Bluetech" or the "Bluetech Trust" for

  6   short.

  7        Pursuant to the terms of the trust instrument governing

  8   the Bluetech Trust, the Trust Fund committed to the Trust is

  9   administered by a trustee for the benefit of so-called

 10   Discretionary Beneficiaries who have been identified on a

 11   schedule to the instrument, and any additional Discretionary

 12   Beneficiaries who the Protector of the Bluetech Trust may

 13   nominate, provided they are not Excluded Persons.                  See

 14   Committee's May 28 Hearing Exhibit 13.

 15        Martorello acknowledged that he is both the Settlor and

 16   the Protector of the Bluetech Trust, and that the current

 17   Discretionary Beneficiaries are his family members.                 Excluded

 18   Persons include, among others, all court, administrative, or

 19   judicial bodies, except for the court, administrative, or

 20   judicial bodies organized and empowered under the laws of the

 21   Cook Islands, and any and all creditors, claimants, and

 22   judgment creditors of, among others, any Settlor or any

 23   Discretionary Beneficiary.           See id.

 24        With respect to management and control of the Debtor, the

 25   operating agreement of the Debtor provides that the business
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  1   and affairs of the company shall be managed by or under the

  2   direction of a Manager who may exercise all powers of the

  3   company and do all such lawful things -- I'm sorry, do all

  4   such lawful acts and things as are not, by statute, the

  5   certificate of formation, or the operating agreement,

  6   directed or required to be exercised and done by the members

  7   having a right to vote.          See Consumer Borrowers' May 28

  8   Hearing Exhibit 9, Section V.A.

  9        The Manager, in turn, has the power to appoint and remove

 10   officers.     See id., Section V.B(ii).

 11        Under the terms of the operating agreement, however, the

 12   Manager can be removed with or without cause by the vote or

 13   written consent in lieu of a meeting of the members holding a

 14   majority of the voting interests of the Debtor.               See id.,

 15   Section V.E.

 16        Thus, ultimately, the Manager may be removed or

 17   overridden at any time by the holder or holders of a majority

 18   of the voting membership interests of the Debtor.                  I'll come

 19   back to this in a minute.

 20        At the time of the Debtor's formation, Liont, LLC, or

 21   "Liont" for short, was appointed as the initial Manager of

 22   the Debtor.     See id., Section V.A.

 23        Martorello was the president of Liont, and Liont, as the

 24   Manager of the Debtor, appointed Martorello as president of

 25   the Debtor, an officer position that Martorello continues to
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  1   hold.

  2        Later, James Walesa would come to be appointed as Manager

  3   of the Debtor, but effective January 16, 2020, he resigned,

  4   and on January 17, 2020, Drew McManigle, or "McManigle" for

  5   short, was appointed as the new Manager.              See Consumer

  6   Borrowers' May 28 Hearing Exhibit 26.

  7        McManigle is the founder and managing director of MACCO

  8   Restructuring Group, LLC, or "MACCO" for short.

  9        Circling back to the voting members of the Debtor, at all

 10   times one hundred percent of the voting membership interests

 11   of the Debtor have been held by Breakwater.               See Consumer

 12   Borrowers' May 28 Hearing Exhibit 9, Schedule A.

 13        Thus, at all times, the Manager has served at the

 14   pleasure of and could be overridden by Breakwater.

 15        Breakwater is also manager-managed.             Its Manager is ATP

 16   Directors Limited, an offshore entity.             See Consumer

 17   Borrowers' May 28 Hearing Exhibit 21, last page of attached

 18   MACCO Restructuring Group engagement letter.

 19        Tine Fa’asili Ponia, or "Ponia" for short, is a purported

 20   authorized officer of ATP Directors Limited.               Separately,

 21   with respect to Bluetech, Breakwater's one hundred percent

 22   owner, Bluetech's trustee is Guardian Trust Corporation, a

 23   Cook Islands corporation.          Guardian Trust Corporation's

 24   officers include the offshore entities ATP Directors Limited

 25   and ATP Secretaries Limited.           See Committee's May 28 Hearing
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  1   Exhibit 13 at Page 25.

  2        C.   Sale of the Bellicose Servicing Business to the

  3   Tribe.

  4        Ultimately, the Tribe agreed with the owners of Bellicose

  5   Capital to acquire the servicing business of Bellicose

  6   Capital by way of a multistep transaction.              First, all of the

  7   assets directly or indirectly held by Bellicose Capital

  8   unrelated to the business of the Tribe were separated from

  9   Bellicose Capital, and the assets of SourcePoint were moved

 10   into Bellicose Capital.

 11        Then the following documents were executed to effectuate

 12   the transaction:        First, an agreement and plan of merger

 13   among LVD Tribal Acquisition Company, LLC, or "TAC" for

 14   short, as Acquiror, an entity wholly-owned and operated by

 15   the Tribe; the Debtor as Seller; and Bellicose Capital as the

 16   target company.        See Debtor's May 28 Hearing Exhibit 14.            See

 17   also Consumer Borrowers' May 28 Hearing Exhibit 11.

 18        Second, a Loan and Security Agreement executed by TED,

 19   and together with its Subsidiaries, as defined therein,

 20   referred to as Borrower, and the Debtor, as Lender, such

 21   agreement referred to as the LSA.            See Debtor's May 28

 22   Hearing Exhibit 12.

 23        Third, a secured promissory note dated January 26, 2016,

 24   executed by TED, the wholly-owned subsidiary of the Tribe, in

 25   favor of the Debtor, referred to as the "Promissory Note."
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  1   See Debtor's May 28 Hearing Exhibit 11.

  2         And fourth, a parental guaranty and sovereign immunity

  3   waiver executed by the Debtor as Lender and the Tribe, TED,

  4   and all Subsidiaries, as defined therein, including, without

  5   limitation, Big Picture and Ascension, such document referred

  6   to as the "Guaranty."         See Debtor's May 28 Hearing Exhibit

  7   13.

  8         As a result of the transaction, which, as mentioned,

  9   closed on or about January 26, 2016, the lending business

 10   previously conducted by Red Rock and Duck Creek was taken

 11   over by Big Picture; the servicing business previously

 12   conducted by Bellicose VI and SourcePoint was taken over by

 13   Ascension; and TED, being the parent holding company of both

 14   Big Picture and Ascension, committed to make payments to the

 15   Debtor under the terms of the LSA and complex waterfall

 16   provisions of the Promissory Note for a period of seven

 17   years, secured by the Collateral as defined in the LSA, which

 18   consists of, among other things, substantially all of the

 19   personal property of the Tribal Defendants.

 20         Focusing on the Promissory Note specifically.                The

 21   waterfall provisions of the Promissory Note implement what

 22   amounts to a net profits interest in the lending operations

 23   of Big Picture and Ascension for a period of seven years.                     As

 24   such, any action taken by Big Picture and/or Ascension that

 25   could negatively impact their profitability could conceivably
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  1   also negatively impact payments to the Debtor on its de facto

  2   net profits interest.         This becomes relevant in later

  3   discussing the settlement agreed upon by the Tribal

  4   Defendants.

  5        D.   The Prepetition Consumer Borrower Litigation and

  6   Tentative Class Action Settlement with the Tribal Entities,

  7   Individuals Affiliated with the Tribal Entities, the Settling

  8   Eventide Members, and Certain Third Parties.

  9        This, then, now takes me to the Consumer Borrowers.

 10   Beginning in June 2017, several actions were commenced

 11   against the Tribe and certain of its subsidiaries -- the

 12   Tribe and such affiliates, as applicable, collectively and

 13   generically referred to as the "Tribal Entities;" various

 14   individuals affiliated with the Tribal Entities; the Debtor,

 15   and various individuals and entities affiliated with the

 16   Debtor, including, without limitation, Martorello.                 Briefly,

 17   the actions are as follows:

 18        One, Lula Williams, et al., on behalf of themselves and

 19   all individuals similarly situated versus certain Tribal

 20   Entities, Martorello, and certain individuals affiliated with

 21   the Tribal Entities, Civil Action No. 3:17-CV-461, filed in

 22   the U.S. District Court for the Eastern District of Virginia

 23   on June 22, 2017.         See Consumer Borrowers' May 28 Hearing

 24   Exhibit 38; Debtor's May 28 Hearing Exhibit 32.               I'll refer

 25   to this case as the "Williams I Case."
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  1        Two, Renee Galloway, et al., as individuals and as

  2   representatives of the classes versus certain Tribal Entities

  3   and Martorello, Civil Action No. 3:18-CV-406, filed in the

  4   U.S. District Court for the Eastern District of Virginia on

  5   June 11, 2018.         See Consumer Borrowers' May 28 Hearing

  6   Exhibit 35; Debtor's May 28 Hearing Exhibit 34.               I'll refer

  7   to this case as the "Galloway I Case."

  8        Three, Richard Lee Smith, Jr., individually and on behalf

  9   of persons similarly situated, versus certain Tribal

 10   Entities, Martorello, and the Debtor, Civil Action No. 3:18-

 11   CV-1651, filed in the U.S. District Court for the District of

 12   Oregon on September 11, 2018.           See Consumer Borrowers' May 28

 13   Hearing Exhibit 43; Debtor's May 28 Hearing Exhibit 36.                  I'll

 14   refer to this case as the "Smith Case."

 15        Four, Dana Duggan, individually and on behalf of persons

 16   similarly situated, versus certain Tribal Entities, certain

 17   individuals affiliated with the Tribal Entities, Martorello,

 18   and the Debtor, Civil Action No. 1:18-CV-12277, filed in the

 19   U.S. District Court for the District of Massachusetts on

 20   October 31, 2018.         See Consumer Borrowers' May 28 Hearing

 21   Exhibit 44; Debtor's May 28 Hearing Exhibit 38.               I'll refer

 22   to this case as the "Duggan Case."

 23        Five, Lula Williams, et al. versus Martorello and certain

 24   additional third parties, Civil Action No. 3:19-CV-85, filed

 25   in the U.S. District Court for the Eastern District of
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  1   Virginia on February 11, 2019.            See Debtor's May 28 Hearing

  2   Exhibit 41.     I'll refer to this case as the "Williams II

  3   Case."

  4        Six, Renee Galloway, et al., as individuals and as

  5   representatives of the classes, versus the Debtor, certain

  6   individuals and entities affiliated with the Debtor and

  7   Martorello, and certain additional third parties, Civil

  8   Action No. 3:19-CV-314, filed in the U.S. District Court for

  9   the Eastern District of Virginia on April 24, 2019.                 See

 10   Consumer Borrowers' May 28 Hearing Exhibit 36; Debtor's May

 11   28 Hearing Exhibit 43.          I'll refer to this case as the

 12   "Galloway II Case."

 13        And seven, Renee Galloway, et al., as individuals and as

 14   representatives of the classes, versus certain individuals

 15   affiliated with the Tribal Entities, Civil Action No. 3:19-

 16   CV-470, filed in the U.S. District Court for the Eastern

 17   District of Virginia on June 26, 2019.             See Consumer

 18   Borrowers' May 28 Hearing Exhibit 37.             I'll refer to this

 19   case as the "Galloway III Case."

 20        I'll collectively refer to the Williams I, Galloway I,

 21   Smith, Duggan, Galloway II, and Galloway III Cases as the

 22   "Class Action Cases," and collectively refer to the Class

 23   Action Cases and the Williams II Case as the "Consumer

 24   Borrower Cases."

 25        Of relevance in each of the Eastern District of Virginia
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  1   cases -- namely, the Williams I, Galloway I, Williams II,

  2   Galloway II, and Galloway III Cases -- the same United States

  3   District Judge has been assigned.

  4        In very general terms, in each of the Class Action Cases,

  5   the Plaintiffs have brought claims individually and on behalf

  6   of a purported class of similarly-situated individuals

  7   against the respective Defendants therein for, among other

  8   things, violation of various consumer lending protection laws

  9   and the Racketeer Influenced and Corrupt Organizations Act,

 10   or "RICO" for short.

 11        In the Williams II Case, the Plaintiffs have brought

 12   individual claims against the Defendants therein for

 13   violations of the Fair Credit Reporting Act.

 14        Again, in very general terms, the claims against

 15   Martorello, the Debtor, and individuals and entities

 16   affiliated with the Debtor are predicated on

 17   "rent-a-tribe"-type allegations, effectively claiming that

 18   such Defendants entered into agreements with the Tribal

 19   Entities to use them as a vehicle to profit from usurious

 20   loans made to consumers that are purportedly immune from

 21   attack under tribal lending laws and the Tribal Entities'

 22   sovereign immunity.

 23        Indeed, in the Williams I Case, the first of the Class

 24   Action Cases filed, the Tribal Entities sought the dismissal

 25   of claims against them on the basis of tribal immunity.                  In
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  1   June 2018, the District Judge denied the motion and the

  2   Tribal Entities appealed.          See Consumer Borrowers' May 28

  3   Hearing Exhibit 38, Docket Entries for Docket #124 and #135.

  4        Leading up to and after the appeal, the parties were

  5   embroiled in extensive and seemingly nasty discovery

  6   disputes.     See generally Consumer Borrowers' May 28 Hearing

  7   Exhibit 38.

  8        Just a cursory review of the docket in the case reflects

  9   the magnitude and expansiveness of the disputes.                   While the

 10   Tribal Entities and Martorello requested that the case be

 11   stayed pending the outcome of the appeal, the Court denied

 12   the request insofar as involving parties other than the

 13   Tribal Entities and issues other than the sovereign immunity

 14   issues on appeal.         See, for example, id., Docket #323.

 15        Separately, each of the Smith, Duggan, and Galloway III

 16   Cases was initiated against, among others, various Tribal

 17   Entities and/or individuals affiliated with the Tribal

 18   Entities.

 19        On June 7, 2019, the Plaintiffs in the Williams I and

 20   Galloway I Cases filed a motion with the United States

 21   Judicial Panel on Multi-District Litigation for the transfer

 22   of, among other cases, the Smith and Duggan Cases to the U.S.

 23   District Court for the Eastern District of Virginia for

 24   centralized, consolidated pretrial proceedings.               The MDL

 25   proceeding was assigned Case MDL No. 2906, which I'll refer
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  1   to as the "MDL Proceeding."

  2        The Plaintiffs thereafter also added the Galloway III

  3   Case to the list.

  4        On July 22, 2019, the Debtor, Martorello, and certain

  5   other individuals and entities affiliated with the Debtor

  6   filed their joint opposition to the motion.               See Consumer

  7   Borrowers' May 28 Hearing Exhibit 40.

  8        The principal basis for the opposition was the

  9   Respondents' assertion that the Plaintiffs had found a judge

 10   in the Eastern District of Virginia who is favorably disposed

 11   toward them, and thus that the request was nothing more than

 12   a "thinly-veiled exercise in forum shopping, nothing more."

 13   See id. at Page 2.         See also Consumer Borrowers' May 28

 14   Hearing Exhibit 41.

 15        In the midst of this, on July 3, 2019, the Fourth Circuit

 16   Court of Appeals issued an opinion reversing the District

 17   Court's denial of the Tribal Entities' motion to dismiss in

 18   Williams I and remanding the case with instructions to grant

 19   the Tribal Entities' motion to dismiss for lack of subject

 20   matter jurisdiction on tribal immunity grounds. See Debtor's

 21   May 28 Hearing Exhibit 23.

 22        While the Circuit Court's mandate was effective July 25,

 23   2019, for reasons unknown to the Court, the District Court

 24   did not dismiss the Tribal Entities from the case at that

 25   time.   See Consumer Borrowers' May 28 Hearing Exhibit 38.
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  1        Consequently, on August 12, 2019, the Tribal Entities

  2   filed a motion for entry of judgment based upon the Fourth

  3   Circuit's opinion.          See id.

  4        However, again, for unknown reasons, the motion was not

  5   immediately acted upon by the Williams I court, and, in fact,

  6   would not be granted until February 18, 2020.

  7        Separately, on September 19, 2019, the motion to transfer

  8   in the MDL Proceeding was withdrawn and the MDL Proceeding

  9   was closed.       See MDL Proceeding Docket #63 and #64.

 10        Ultimately, a framework for a settlement among all the

 11   Plaintiffs in the Consumer Borrower Cases, individually and

 12   as representatives of the putative classes of similarly-

 13   situated individuals that they represented, as applicable, on

 14   the one hand, and the Tribal Entities, individuals affiliated

 15   with the Tribal Entities, and certain others, including the

 16   Settling Eventide Members, on the other hand, came together.

 17        The tentative settlement was first announced to the

 18   Williams I court on or about October 21, 2019.                See Consumer

 19   Borrowers' May 28 Hearing Exhibit 38.

 20        To effectuate the class settlement aspects of the

 21   settlement, the settling parties needed all of the settling

 22   parties and associated claims to be consolidated within one

 23   action.       The parties selected Galloway III, which up to that

 24   point in time had only been filed against various individuals

 25   affiliated with the Tribal Entities, to serve as the
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  1   consolidated action.

  2         Accordingly, on November 26, 2019, the Williams III --

  3   I'm sorry -- the Galloway III Case Plaintiffs filed a motion

  4   to amend their class action complaint to add the Plaintiffs

  5   and Settling Defendants from all the other Consumer Borrower

  6   Cases.     See Galloway III Case Docket #16 and #17.

  7         On December 2, 2019, an order was entered granting the

  8   motion, and the amended complaint was filed the next day. See

  9   Galloway III Case Docket #20 and #23.

 10         Not long after, the formal Class Action Settlement

 11   Agreement and Release had been executed by all of the

 12   Settling Parties, which I'll refer to as the "Settlement

 13   Agreement."     See Consumer Borrowers' May 28 Hearing Exhibit

 14   12.

 15         E.   Prepetition Actions Taken by the Debtor in an Effort

 16   to Prevent Consummation of the Settlement.

 17         Under the terms of the settlement, subject to class

 18   certification and approval of the class settlement, Big

 19   Picture and Ascension are to (a) fund $8.7 million into the

 20   settlement fund to be created; (b) collect no more than 2.5

 21   times the original principal amount of any outstanding loans

 22   owed by settling class members; and (c) cease efforts to

 23   collect on charged-off loans owed by settling class members.

 24         According to the Debtor, Components B and C equate to

 25   roughly $11 million in value.           Thus, according to the Debtor,
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  1   consummation of the settlement could have a negative impact

  2   of up to $20 million in relation to the Debtor's de facto net

  3   profits interest under the Promissory Note.

  4        Consequently, following announcement of the settlement,

  5   the Debtor began to undertake multiple actions in an effort

  6   to derail the settlement.          First, on December 16, 2019, the

  7   Debtor commenced an action against each of the Tribal

  8   Defendants, as well as the Tribe and TAC -- collectively, the

  9   "Arbitral Defendants" -- before the American Arbitration

 10   Association.     See Consumer Borrowers' May 28 Hearing Exhibit

 11   13; Tribal Defendant's June 4 Hearing Exhibit 27.

 12        Pursuant to the arbitration demand, the Debtor had

 13   asserted claims for breach and anticipatory breach of the

 14   LSA; breach and anticipatory breach of the Promissory Note;

 15   breach of the Guaranty; breach of fiduciary duty; and request

 16   for declaratory judgment relief determining the existence of

 17   certain past defaults under the LSA and determining that the

 18   Arbitral Defendants' execution of the Settlement Agreement

 19   constitutes a default under the LSA.

 20        Second, on December 17, 2019, the day after initiating

 21   the arbitration, the Debtor filed a verified complaint for

 22   injunctive relief against the Tribal Defendants in the United

 23   States District Court for the Western District of Michigan.

 24   See Tribal Defendants' June 4 Hearing Exhibit 33.                  I'll refer

 25   to this case as the "Michigan Injunction Case."
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  1         In the Michigan Injunction Case, the Debtor requested

  2   entry of an injunction enjoining the Tribal Defendants from

  3   entering into the Settlement Agreement.

  4         Third, on December 18, 2019, the next day, the Debtor

  5   filed a motion to intervene in the Galloway III Case.

  6         None of these strategies proved to be sufficiently

  7   expedient to the Debtor.          First, in the case of the

  8   arbitration, while the Debtor has aggressively pursued

  9   prosecution of the action, trial is not scheduled until late

 10   July or early August 2020.

 11         Second, in the case of the Michigan Injunction Case, the

 12   Michigan District Court denied the Debtor's motion for a TRO,

 13   determining, among other things, that "it is far from clear

 14   that Plaintiff" -- referring to the Debtor -- "is likely to

 15   prevail on the merits, given the very complicated financial

 16   and legal set of circumstances between the parties," that

 17   "[u]nder the complex circumstances presented, the assertions

 18   of future irreparable harm are tenuous at best" and that the

 19   Court was "not persuaded by Plaintiff's argument that public

 20   policy strongly favors injunctive relief, given the policies

 21   in favor of arbitration and the enforcement of contractual

 22   agreements."     See Tribal Defendants' June 4 Hearing Exhibit

 23   34.

 24         In fact, as to the public policy point, the Court added

 25   that "The public policy in favor of arbitration and
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  1   enforcement of contracts between sophisticated business

  2   parties in the circumstances presented is far outweighed by

  3   the public policy favoring the equitable and expeditious

  4   settlement of mass consumer class action litigation."                 See

  5   id. at Page 4.

  6        Finally, with respect to the Debtor's motion to intervene

  7   filed in Galloway III, to this day the Court has not ruled on

  8   the motion.     In fact, notwithstanding the filing of the

  9   motion on December 18, 2019, the Eastern District of Virginia

 10   District Court entered a preliminary approval order as to the

 11   Settlement Agreement on December 20, 2019.              See Debtor's May

 12   28 Hearing Exhibit 50.

 13        F.   The Litigation Heats Back Up Against Martorello, the

 14   Debtor, and Other Affiliated Non-Settling Defendants.                 The

 15   Debtor Pivots to Bankruptcy.

 16        On January 8, 2020, an identical order was entered in

 17   each of the Williams I, Galloway I, and Galloway II Cases

 18   lifting the stay of proceedings that had been ordered upon

 19   the announcement of a settlement in principle and

 20   establishing deadlines to "proceed expeditiously to resolve

 21   the Plaintiff's claims against the Non-Settling Defendants."

 22   See Consumer Borrowers' May 28 Hearing Exhibit 39.

 23        Thus, in the face of both the Settlement Agreement and

 24   the remaining litigation moving forward and the Michigan

 25   District Court's denial of injunctive relief, on January 28,
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  1   2020, the Debtor initiated the Bankruptcy Case with the

  2   filing of its voluntary petition for relief under Chapter 11

  3   of the Bankruptcy Code.

  4          While the bankruptcy filing had the effect of

  5   automatically staying the Galloway II, Smith, and Duggan

  6   Cases, it did not automatically stay Williams I, Galloway I,

  7   Williams II, or, of most significance to the Debtor, Galloway

  8   III.    Consequently, the very next day, on January 29, 2020,

  9   the Debtor commenced Adversary 4008 to pursue injunctive

 10   relief against both the Consumer Borrowers and the Tribal

 11   Defendants under Sections 362 and 105 of the Bankruptcy Code.

 12   See Adversary 4008 Docket #1.

 13          In the Debtor's complaint, the Debtor defined the

 14   "Pending Actions" as Williams I, Galloway I, Smith, Duggan,

 15   Williams II, Galloway II, and Galloway III, and the Debtor

 16   requests, pursuant to Bankruptcy Code Sections 362(a)(1) and

 17   (a)(3), the issuance of declaratory relief to purportedly

 18   stay the Consumer Borrowers from prosecuting any of their

 19   claims in the Pending Actions until completion of the

 20   Debtor's restructuring process, and pursuant to Bankruptcy

 21   Code Section 105, the issuance of an injunction against all

 22   parties barring the continued prosecution of the Pending

 23   Actions until completion of the Debtor's restructuring

 24   process.

 25          On the same day as filing Adversary 4008, the Debtor also
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  1   filed a motion for preliminary declaratory and/or injunctive

  2   relief.       See Adversary 4008 Docket #2.

  3        G.   Other Activity in the Bankruptcy Case to Date.

  4        For nearly a month, nothing took place in the Bankruptcy

  5   Case outside of the previously-mentioned filing of Adversary

  6   4008, the filing of a request for an extension of time to

  7   file the Debtor's Schedules and Statement of Financial

  8   Affairs, and the filing of applications to retain counsel.

  9   See generally Debtor's May 28 Hearing Exhibit 5.

 10        Meanwhile, outside of bankruptcy, on February 14, 2020,

 11   in the case of the Smith and Duggan Cases, and on February

 12   21, 2020 in the case of the Williams I and Galloway I Cases,

 13   Martorello filed motions to transfer to the Northern District

 14   of Texas based upon the existence of the Bankruptcy Case.

 15   See Consumer Borrowers' May 28 Hearing Exhibits 35, 38, 43,

 16   and 44.

 17        Similarly, on February 21, 2020, Breakwater, Bluetech,

 18   Gallant, and Justin and Rebecca Martorello also filed a

 19   motion to transfer Galloway II to the Northern District of

 20   Texas based upon the existence of the Bankruptcy Case.                  See

 21   Consumer Borrowers' May 28 Hearing Exhibit 36.

 22        All of the motions to transfer venue filed in the Eastern

 23   District of Virginia have been denied.              The motions in the

 24   Districts of Oregon and Massachusetts remain pending.

 25        Focusing back on the Bankruptcy Case, following the
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  1   United States Trustee's appointment of the Committee, which

  2   Martorello has pejoratively referred to as a "pretend

  3   committee," and the Committee's engagement of counsel, the

  4   Debtor suddenly filed an emergency motion on February 26,

  5   2020 for the entry of an order shortening the time within

  6   which proofs of claim could be filed in the Bankruptcy Case

  7   and permitting national notice by publication to be given of

  8   the bar date, in light of the pending class actions.                 See

  9   Bankruptcy Case Docket #33.

 10          In the words of the Debtor, "The purpose of this motion

 11   is to shorten the time by which the Debtor can be confident

 12   that all legitimate claims are accounted for and can

 13   therefore propose a confirmable plan."             See id. at Page 4,

 14   Paragraph 10.

 15          Both the Committee and certain Consumer Borrowers

 16   objected to the motion, raising concerns about the shortness

 17   of time for the filing of proofs of claim proposed under the

 18   motion, and, more significantly, the unspecified notice by

 19   publication proposed.         See Bankruptcy Case Docket #40 and

 20   #43.

 21          Ultimately, the Court agreed to shorten the claims bar

 22   date by a little bit to May 8, 2020, but denied the request

 23   for approval of notice by publication without prejudice,

 24   understanding that the Debtor would be submitting a

 25   definitive proposal after further consultation with the
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  1   Committee.     See Bankruptcy Case Docket #68.

  2        Ultimately, no request was ever made, and the potential

  3   exists that there are putative class members with claims who

  4   have not been provided notice of the claims bar date.

  5        Separately, the Debtor also filed on February 26, 2020 an

  6   application to employ McManigle of MACCO as Manager and Chief

  7   Restructuring Officer of the Debtor, effective as of the

  8   bankruptcy filing.         See Consumer Borrowers' May 28 Hearing

  9   Exhibit 21.

 10        Despite having no employees and no operations outside of

 11   collecting funds under the Promissory Note and pursuing and

 12   defending litigation, the Debtor explained that the Debtor

 13   "came to the conclusion that it was critical to engage a

 14   crisis management firm and a CRO to manage its business

 15   through the restructuring process."             See id. at Page 3,

 16   Paragraph 5.

 17        McManigle's proposed role would include making

 18   operational decisions, including those which will or

 19   potentially will affect operations, contracting, accounting,

 20   collection of accounts, cash and cash disbursements, and all

 21   similar business undertakings; manage and control cash, cash

 22   outflows, and financing commitments; negotiate with the

 23   Debtor's creditors; evaluate and make recommendations and

 24   decisions in connection with strategic alternatives to

 25   maximize the value of the Debtor; and make any and all
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  1   business decisions on behalf of the Debtor, as necessary and

  2   required, utilizing the Manager's and CRO's business

  3   judgment.     See id. at Pages 4-5.

  4        On March 27, 2020, the Court entered an order authorizing

  5   the engagement.        See Committee's May 28 Hearing Exhibit 3.

  6        Despite McManigle's appointment as the Manager of the

  7   Debtor prior to the bankruptcy filing, despite the

  8   description provided to the Court in requesting approval of

  9   McManigle's postpetition engagement as Manager and CRO of the

 10   Debtor, and despite the promised independence and critical

 11   role that McManigle would play in connection with the case,

 12   the following is significant to note:

 13        One.     McManigle never personally met with Martorello, the

 14   Debtor's president and only other officer, prior to his

 15   engagement.

 16        Two.     Despite executing one of the prepetition unsecured

 17   Promissory Notes made payable to Bluetech, McManigle was not

 18   involved in any discussions or negotiations concerning the

 19   Promissory Note.

 20        Three.     McManigle never spoke to any of the Debtor's

 21   members about the Chapter 11 filing prior to signing the

 22   bankruptcy petition.

 23        Four.    McManigle's only communication with anyone

 24   employed by an entity in the chain of control of the Debtor

 25   has been with Tine Ponia, a purported authorized officer of
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  1   the offshore entity ATP Directors Limited, which manages,

  2   directly or indirectly, Breakwater and Bluetech, both Cook

  3   Islands entities.

  4        Five.    McManigle has had no direct communications with

  5   any representatives of the Tribe or the Tribal Defendants.

  6        And six.     As of May 28, 2020, McManigle has never spoken

  7   to Martorello directly and doesn't even know what he does for

  8   the Debtor.

  9        After obtaining a shortening of the claims bar date, the

 10   Debtor was focused back on the Tribal Defendants, filing a

 11   second lawsuit against them under Adversary Proceeding No.

 12   20-4014, which I'll refer to as "Adversary 4014."                  Pursuant

 13   to the complaint in Adversary 4014, and despite the pendency

 14   of the arbitration involving breach of contract claims

 15   between the parties, which the Debtor was and is continuing

 16   to actively prosecute, the Debtor sought to compel the Tribal

 17   Defendants to make payments under the Promissory Note via

 18   turnover relief under Bankruptcy Code Section 542.

 19        Similar to Adversary 4008, the Debtor also sought

 20   emergency preliminary injunctive relief in an effort to

 21   effectively prevent the Tribal Defendants from consummating

 22   the Settlement Agreement pending the outcome of the

 23   arbitration.

 24        Ultimately, the Court dismissed the claims asserted

 25   against the Tribal Defendants in both Adversary 4008 and
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  1   Adversary 4014 for want of jurisdiction on tribal immunity

  2   grounds.      See Tribal Defendants' June 4 Hearing Exhibits 35

  3   and 36.

  4        On April 24, 2020, the day after the Consumer Borrowers

  5   filed the Bankruptcy Dismissal Motion, the Debtor filed yet

  6   another lawsuit against the Tribal Defendants, this time

  7   under Adversary 4030.         The complaint in Adversary 4030

  8   asserts claims of breach of contract largely mirroring

  9   assertions currently being litigated in the pending

 10   arbitration and seeking preliminary injunctive relief to both

 11   compel payments under the Promissory Note and prevent

 12   consummation of the Settlement Agreement pending conclusion

 13   of the arbitration.

 14        On May 15, 2020, the Debtor filed a motion for an

 15   extension of the exclusivity periods of Bankruptcy Code

 16   Section 1121 for the filing of a Chapter 11 plan and

 17   obtaining confirmation of the plan.             See Bankruptcy Case

 18   Docket #152.

 19        Pursuant to the motion, the Debtor claims that an

 20   extension is warranted and appropriate because a decision in

 21   the arbitration is not expected to be issued until mid-

 22   September 2020, and according to the Debtor, if the Debtor is

 23   successful in obtaining an award, the award will allegedly

 24   provide the Debtor with the information that it needs to

 25   project recoveries to legitimate creditors in the case.                  See
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  1   id. at Page 2.

  2        On the same date, the Debtor filed the Financing Motion

  3   to request authority to obtain postpetition financing in the

  4   amount of $2 million from Bluetech, the indirect 59.5 percent

  5   owner of the Debtor through Breakwater and the entity in sole

  6   control of the Debtor through Breakwater as the Debtor's one

  7   hundred percent voting member.            The financing is proposed to

  8   be used almost exclusively if not exclusively for the payment

  9   of professional fees and expenses, particularly litigation

 10   fees and expenses.

 11        Despite Bluetech's prepetition agreement to provide $1.25

 12   million in financing to the Debtor on an unsecured basis at a

 13   maximum non-default interest rate of three percent per annum,

 14   see Committee's May 28 Hearing Exhibits 4 and 5, pursuant to

 15   the Financing Motion, as amended, the terms of the financing

 16   would include:         (1) a $150,000 origination fee payable to

 17   Bluetech; (2) a $200,000 exit fee payable to Bluetech; (3) a

 18   success fee of two percent of "any settlement or award at the

 19   arbitration;" (4) interest on the outstanding principal

 20   balance at 12 percent per annum; (5) the payment of all

 21   actual out-of-pocket expenses of Bluetech; (6) security in

 22   the form of a lien in all assets of the Debtor and proceeds

 23   thereof, with the exception of Chapter 5 claims; (7) a

 24   maturity of the earliest of one year, consummation of a sale

 25   of all or any portion of the Debtor's assets, the effective
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  1   date of a plan, dismissal of the Bankruptcy Case, or the date

  2   of termination of the DIP loan commitments and acceleration

  3   under the DIP financing agreement; and (8) the

  4   acknowledgement that Bluetech has not and is not subjecting

  5   itself to the jurisdiction of this Court in the event of any

  6   disputes or otherwise.

  7        Of note, McManigle never communicated with Bluetech, its

  8   trustee, the Guardian Trust Corporation, or anyone else on

  9   behalf of the DIP Lender with respect to the DIP financing,

 10   McManigle was not involved in any negotiations with respect

 11   to the terms of the DIP loan, and McManigle was totally

 12   unaware of Bluetech's refusal to submit to the jurisdiction

 13   of the Court until it was pointed out by the Committee's

 14   counsel.      See also Bankruptcy Case Docket #85, Bluetech's

 15   Objection to the Committee's Motion for a Bankruptcy Rule

 16   2004 Examination of Bluetech, on the basis of, among other

 17   things, lack of personal jurisdiction, noting that the Cook

 18   Islands are not party to the Hague Convention.

 19        Even more troubling, in connection with the Financing

 20   Motion hearing, no evidence was presented of any negotiation

 21   at all with Bluetech with respect to the terms of the DIP

 22   financing.

 23        H.    The Debtor's Assets and Claims Asserted in the Case.

 24        Turning next to the Debtor's assets and liabilities, as

 25   of the date of the bankruptcy filing, the Debtor scheduled
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  1   assets with a value of $60,437,205.34 and total claims of

  2   $7,643,567.14.         See Consumer Borrowers' May 28 Hearing

  3   Exhibit 17 at Page 9.

  4        On the asset side of the equation, the Debtor has

  5   assigned a value of $60,180,386.87 to the Promissory Note and

  6   amounts payable thereunder, the Debtor's primary asset.

  7   Scheduled claims are for the $1.25 million in prepetition

  8   unsecured loans made by Bluetech to the Debtor; unpaid fees

  9   and expenses of counsel; a disputed claim of nearly $4.575

 10   million to TED associated with advance Promissory Note

 11   payments made by TED to the Debtor prepetition; a $115,000

 12   claim of Liont; and a few nominal claims of third parties.

 13        Turning to filed proofs of claim, 36 Consumer Borrowers

 14   or other borrowers or putative class members have filed

 15   proofs of claim, aggregating roughly $100,000.               All or

 16   substantially all of the claims, however, also reference one

 17   or more of the class action cases and reference class claims

 18   in an unliquidated amount to be determined.               See generally

 19   Bankruptcy Case Claims Register.            See also Consumer

 20   Borrowers' May 28 Hearing Exhibit 23.

 21        Separately, unliquidated claims have also been filed by

 22   Gallant, Liont, Martorello, Justin and Rebecca Martorello,

 23   and Dowd, in each case predicated on the indemnity provisions

 24   of the Debtor's operating agreement.             The IRS has filed a

 25   claim for $400.        And the law firm of Armstrong Teasdale has
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  1   filed a claim for $2,719,064.

  2        Beginning on May 27, 2020, the day before the hearing on

  3   the Consumer Borrowers' Bankruptcy Dismissal Motion, and

  4   continuing into May 28, 2020, objections to each of the

  5   Consumer Borrower proofs of claim were filed by the Debtor

  6   and Martorello.        Each of the objections of the Debtor and

  7   Martorello, respectively, are substantially identical in

  8   content.      See Bankruptcy Case Docket #180, #183-185, #187-

  9   206, and #208-255.

 10        Of note, neither McManigle nor anyone else at MACCO

 11   reviewed or undertook any analysis of any of the proofs of

 12   claim objected to prior to the filing of the claims

 13   objections.

 14        Discussion.

 15        A.    Statutory Grounds and the Parties' Respective

 16   Positions.

 17        Dismissal in Chapter 11 is governed by Section 1112 of

 18   the Bankruptcy Code.         In particular, Section 1112(b)(1)

 19   provides, in relevant part:           On request of a party in

 20   interest, and after notice and a hearing, the Court shall

 21   convert a case under this chapter to a case under Chapter 7,

 22   or dismiss a case under this chapter, whichever is in the

 23   best interest of creditors and the estate, for cause, unless

 24   the Court determines that the appointment under Section

 25   1104(a) of a trustee or an examiner is in the best interests
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  1   of creditors and the estate.           See 11 U.S.C. Section

  2   1112(b)(1).

  3        Here, the Consumer Borrowers assert that cause exists for

  4   dismissal of the Bankruptcy Case under Section 1112(b)(1)

  5   based upon the Debtor's alleged lack of good faith in

  6   commencing the Bankruptcy Case.            In particular, the Consumer

  7   Borrowers argue that the Debtor has simply attempted to

  8   utilize the Bankruptcy Code as a litigation tactic and/or to

  9   forum shop, with no true objective to reorganize.

 10        The Consumer Borrowers also rely upon the factors

 11   identified by the Fifth Circuit in Little Creek Development

 12   Company v. Commonwealth Mortgage Corp. (In re Little Creek

 13   Development Company), 779 F.2d 1068 (5th Cir. 1986) for

 14   indicia of bad faith.

 15        Alternatively, the Consumer Borrowers request suspension

 16   of the Bankruptcy Case on abstention grounds, whereby the

 17   Consumer Borrowers are permitted to liquidate their claims by

 18   trying one or more so-called bellwether cases in the Eastern

 19   District of Virginia.

 20        Suspension of a Bankruptcy Case on abstention grounds is

 21   governed by Section 305 of the Bankruptcy Code.               Section 305

 22   provides, in relevant part, "The Court, after notice and a

 23   hearing, may suspend all proceedings in a case under this

 24   title at any time if the interests of creditors and the

 25   debtor would be better served by such suspension."                 See 11
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  1   U.S.C. Section 305(a)(1).

  2        The Committee has joined the Consumer Borrowers in

  3   requesting the alternative relief of suspension of the

  4   Bankruptcy Case until the Consumer Borrower cases have been

  5   resolved and the Consumer Borrowers' claims against the

  6   Debtor have been liquidated.           At hearing, however, the

  7   Committee seemed to also join in the Consumer Borrowers'

  8   request for dismissal.

  9        The Debtor responds that in order for the Consumer

 10   Borrowers to succeed on their request for dismissal, they

 11   must establish that the Bankruptcy Case was not filed for any

 12   valid bankruptcy purpose, and the Debtor asserts that the

 13   Consumer Borrowers cannot carry that burden because the

 14   Bankruptcy Case was filed for two valid bankruptcy purposes:

 15   First, to preserve the value of the Promissory Note; and

 16   second, to reduce the duplicative and excessive costs and

 17   distractions of defending litigation in multiple forums.

 18        The Debtor asserts that suspension of the Bankruptcy Case

 19   on abstention grounds would present an even worse outcome for

 20   all parties because it would severely burden the estate in

 21   its the ability to pay creditors on account of the

 22   duplicative adjudication of identical claims.

 23        Martorello has joined in the Debtor's opposition and

 24   separately filed a response to the Committee's statement of

 25   position, asserting that the Committee is an illegitimate
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  1   puppet committee comprised of plaintiffs in litigation who

  2   are not focused on attempting to maximize payment to

  3   unsecured creditors.

  4        B.   Dismissal for Lack of Good Faith.

  5        In Little Creek, the Fifth Circuit reiterated the

  6   longstanding principle that bankruptcy relief, as an

  7   equitable remedy, is dependent upon a debtor's good faith in

  8   commencing and prosecuting the case.             The Court explained,

  9   "Every bankruptcy statute since 1898 has incorporated

 10   literally or by judicial interpretation a standard of good

 11   faith for the commencement, prosecution, and confirmation of

 12   bankruptcy proceedings.          Such a standard furthers the

 13   balancing process between the interests of debtors and

 14   creditors which characterizes so many provisions of the

 15   bankruptcy laws and is necessary to legitimize the delay and

 16   costs imposed upon parties to a bankruptcy.               Requirement of

 17   good faith prevents abuse of the bankruptcy process by

 18   debtors whose overriding motive is to delay creditors without

 19   benefiting them in any way or to achieve reprehensible

 20   purposes.     Moreover, a good faith standard protects the

 21   jurisdictional integrity of the bankruptcy courts by

 22   rendering their powerful equitable weapons available only to

 23   those debtors and creditors with 'clean hands.'" Little

 24   Creek, 779 F.2d at 1071-72, citations omitted.

 25        As such, courts have recognized that a debtor's lack of
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  1   good faith constitutes cause for dismissal under Section

  2   1112(b) of the Bankruptcy Code.            See id. at 1072.        See also

  3   Humble Place Joint Venture v. Fory (In re Humble Place Joint

  4   Venture), 936 F.2d 814, 816-17 (5th Cir. 1991).

  5        Lack of good faith is to be determined based upon the

  6   totality of the circumstances.            See In re Mirant Corp., No.

  7   03-46590, 2005 WL 2148362, *6 (Bankr. N.D. Tex. January 26,

  8   2005).

  9        As explained by the Fifth Circuit, "Determining whether

 10   the debtor's filing for relief is in good faith depends

 11   largely upon the bankruptcy court's on-the-spot evaluation of

 12   the debtor's financial condition, motives, and the local

 13   financial realities."         Little Creek, 779 F.2d at 1072.          See

 14   also Mirant Corp., 2005 WL 2148362, *6.

 15        As such, findings of lack of good faith are most often

 16   predicated on a conglomerate of factors rather than any one

 17   particular data point.          Little Creek, 779 F.2d at 1072.          See

 18   also In re Carbaugh, 299 B.R. 395, 399 (Bankr. N.D. Tex.

 19   2003).

 20        In Little Creek, for example, the Fifth Circuit explained

 21   that several -- but not necessarily all -- of the following

 22   conditions usually exist in a single-asset real estate case

 23   pursued in bad faith:         (1) there are generally no employees

 24   except for the principals; (2) there is little or no cash

 25   flow; (3) there is no available sources of income to sustain
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  1   a plan of reorganization; (4) there are typically only a few,

  2   if any, unsecured creditors, whose claims are relatively

  3   small; (5) the property of the debtor has usually been posted

  4   for foreclosure because of arrearages and the debtor has been

  5   unsuccessful in defending actions against foreclosure in

  6   state court; and (6) there are sometimes allegations of

  7   wrongdoing by the debtor or its principals.

  8         In Mirant, Judge Lynn opined that courts may find more

  9   useful the "valid bankruptcy purpose" test to determine good

 10   faith.    See Mirant Corp., 2005 WL 2148362, *7.

 11         He quoted the Integrated Telecom Express case out of the

 12   Third Circuit for the proposition that valid bankruptcy

 13   purposes may include, for example, preserving going concerns

 14   and maximizing property available to satisfy creditors.                  See

 15   id.

 16         In any dismissal proceeding, the proponent of dismissal

 17   must carry the initial burden, placing into question the

 18   debtor's good faith.         If satisfied, then the burden then

 19   shifts to the debtor to show that it acted in good faith and

 20   is acting in good faith -- i.e., has a valid purpose in

 21   filing the Bankruptcy Case and prosecuting the Bankruptcy

 22   Case.    See id.       See also Carbaugh, 299 B.R. at 399, citing In

 23   re Tamecki, 229 F.3d 205, 207 (3rd Cir. 2000).

 24         Here, based upon a totality of the circumstances, the

 25   Court finds that the Debtor has not filed and prosecuted the
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  1   Bankruptcy Case in good faith, as evidenced by the following:

  2   First, the Debtor is not an operating business.               It is a

  3   holding company with no employees that for all practical

  4   purposes owns a single asset, the Promissory Note.                 Thus,

  5   there is no true going concern operation to preserve.

  6          Second, the Bankruptcy Case was clearly filed as the next

  7   step in a strategy to try to find a court willing to

  8   temporarily or permanently prevent the Tribal Defendants from

  9   consummating the Settlement Agreement.             In this regard,

 10   having already commenced the arbitration, which has the

 11   ability to determine all contractual claims between the

 12   parties, and after having failed to obtain injunctive relief

 13   from the Michigan District Court, and failed to obtain

 14   intervention in the Galloway III case, the Debtor has

 15   resorted to bankruptcy with the tortured objective of trying

 16   to shoehorn adversary proceeding claims into the narrow

 17   jurisdictional provisions of the LSA, wholly ignoring the

 18   material adverse effect and status quo limitations of the

 19   LSA.

 20          And contrary to the Debtor's arguments of filing the

 21   Bankruptcy Case to stop the bleeding and preserve value, the

 22   Bankruptcy Case has been nothing but bleeding, with the

 23   Debtor having already incurred upwards of $800,000 in

 24   professional fees, predominantly in litigation in three

 25   different adversary proceedings that is duplicative of the
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  1   arbitration in the case of the Tribal Defendants and which

  2   has, in any event, netted zero beneficial results for the

  3   estate.

  4        While a legitimate Chapter 11 proceeding may present new

  5   litigation strategies that do not otherwise exist outside of

  6   bankruptcy, Congress did not intend for Chapter 11 itself to

  7   be a litigation strategy.          See, for example, Mirant, 2005 WL

  8   2148362, *8, noting that, "In analyzing the purpose of a

  9   debtor's Chapter 11 petition in the context of a motion to

 10   dismiss for bad faith filing, the courts regularly consider

 11   whether the bankruptcy was intended to obtain tactical

 12   advantage in litigation or negotiations."

 13        Third, the Bankruptcy Case was also clearly filed as the

 14   next step in a strategy to try to assist Martorello and

 15   individuals and entities affiliated with Martorello in

 16   finding a way to forum shop away from the District Court in

 17   the Eastern District of Virginia that, for reasons that are

 18   not necessary for the Court to fully comprehend, appears to

 19   be a less than -- the Court, that for reasons that are not

 20   necessarily clear to this Court, appears to be less than

 21   impressed with the positions taken by Martorello in the

 22   litigation.

 23        That was very tortured.          Let me say that again.        Third,

 24   the Bankruptcy Case was also clearly filed as the next step

 25   in a strategy to try to assist Martorello and individuals and
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  1   entities affiliated with Martorello in finding a way to forum

  2   shop away from the District Court in the Eastern District of

  3   Virginia that, for reasons that are not necessary for this

  4   Court to fully comprehend, appears to be less than impressed

  5   with the positions taken by Martorello in the litigation.

  6        Fourth, while I wholeheartedly agree with Debtor's

  7   counsel's argument that bankruptcy may legitimately serve the

  8   purpose of consolidating splintered litigation among multiple

  9   courts and/or cases for the purpose of facilitating

 10   constructive negotiations towards a cost-effective resolution

 11   and/or a restructuring, the Debtor's and Martorello's actions

 12   during the course of the Bankruptcy Case have been about as

 13   antithetical to such objectives as you can get.

 14        Initially, while giving lip service to the concept of

 15   developing publication noticing protocol designed to notify

 16   all potential claimants of the Bankruptcy Case and claims bar

 17   date so as to bring all potential consumer borrower claimants

 18   into a centralized forum, no action was ever taken, raising

 19   potentially serious questions with respect to the

 20   effectiveness of any discharge that might be obtained under a

 21   confirmed Chapter 11 plan, given the limited level of notice

 22   provided to creditors and potential creditors.

 23        Nevertheless, putting that concern aside, and more

 24   significantly, instead of seeking to openly communicate with

 25   the Committee and work towards a potential global resolution,
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  1   or at least an agreed-upon protocol that would consolidate

  2   particular issues for resolution in relation to the proofs of

  3   claim that have been filed, Martorello has effectively

  4   resorted to name-calling, and the Debtor, through counsel,

  5   surprisingly and brazenly stated that, to the extent any of

  6   the Consumer Borrowers are ever found to hold any legitimate

  7   allowed claims against the Debtor, the Debtor will simply

  8   separately classify them, apparently previewing the Debtor's

  9   intent to gerrymander a vote on a plan in such instance.

 10        Fifth, the Debtor's actions are not being taken under the

 11   direction and control of McManigle as the Debtor's

 12   independent Manager and CRO.           Instead, it is clear that the

 13   Cook Islands entity Breakwater, as the one hundred percent

 14   voting member of the Debtor, which in turn is wholly owned by

 15   the Cook Islands entity Bluetech, is directing the actions of

 16   the Debtor, to the exclusion of McManigle.

 17        This is evident by virtue of the fact that McManigle had

 18   zero involvement in reviewing the proofs of claim that have

 19   been objected to, zero involvement in any discussions or

 20   negotiations with any of the Tribal Defendants, and perhaps

 21   most shockingly, zero involvement in any discussions or

 22   negotiations with Bluetech as the proposed DIP Lender, who

 23   astoundingly seeks to leverage the Bankruptcy Case to its

 24   benefit while at the same time thumbing its nose at the

 25   concept of subjecting itself to the jurisdiction of this
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  1   Court in connection with administering the proposed DIP loan.

  2        Finally, this is not a case where there is a lack of

  3   financial wherewithal to address liabilities.               The Debtor has

  4   scheduled the Promissory Note as having a value in excess of

  5   $60 million.     And importantly, the Tribal Defendants have

  6   never taken the position that the LSA and Promissory Note are

  7   not enforceable.        They have simply taken the position that no

  8   payments are owing under the Promissory Note until the

  9   amounts that were previously advanced under the Promissory

 10   Note are recouped.

 11        Moreover, to the extent that the Debtor is in need of

 12   funding to preserve the value of the Promissory Note for the

 13   benefit of its owners, it need look no further than Bluetech

 14   and Gallant, who collectively received distributions in

 15   excess of $13.6 million within the two years preceding the

 16   bankruptcy filing.         See Consumer Borrowers' May 28 Hearing

 17   Exhibit 18 at Pages 11-13.

 18        As a result of the Debtor's lack of good faith in filing

 19   and prosecuting the Bankruptcy Case, the Court finds that

 20   cause exists for dismissal of the Bankruptcy Case under

 21   Section 1112(b)(1) of the Bankruptcy Code.

 22        The Court notes that in reviewing the provisions of

 23   Section 1112(b)(1), the Court also considered whether the

 24   alternative appointment of a trustee or examiner would be in

 25   the best interests of creditors and the estate.               While in
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  1   certain respects the Court found the possibility of an

  2   independent trustee to be appealing, the Court nevertheless

  3   determined that dismissal was in the best interests of

  4   creditors and the estate for two reasons.

  5        First, the Consumer Borrowers, being by far and away the

  6   vast majority of the creditors in the case, have clearly

  7   requested dismissal, even in the face of the comments that

  8   the Court made regarding the benefits of Chapter 5 claims in

  9   bankruptcy.

 10        Second, the Court has concern that the appointment of a

 11   trustee could present complications in relation to the

 12   Debtor's preparation and prosecution of the upcoming

 13   arbitration.     Therefore, for this additional reason, the

 14   Court has found dismissal to be warranted.

 15        As a result of the foregoing, the Court now also focuses

 16   on the other pending matters.           First, with respect to the

 17   Financing Motion, the Court denies the motion as moot.

 18        That said, even if the Bankruptcy Case were not

 19   dismissed, the Court cannot envision any circumstance under

 20   which it would approve DIP financing for litigation costs

 21   from an insider who refuses to subject itself to the

 22   jurisdiction of the Court on the type of terms proposed.

 23        Next, with respect to both the Adversary 4008 Dismissal

 24   Motion and the Adversary 4030 Dismissal Motion, inasmuch as

 25   both motions are predicated on the existence of bankruptcy
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  1   jurisdiction and both cases have not progressed beyond the

  2   dismissal motion stage, the Court finds that both cases

  3   should be dismissed without prejudice under the Fifth Circuit

  4   authority of Querner v. Querner (In re Querner), 7 F.3d 1199

  5   (5th Cir. 1993).

  6        All right.        That concludes the Court's ruling.

  7        Mr. Muenker, if I can look to you to submit a proposed

  8   form of order on the Bankruptcy Dismissal Motion and also on

  9   the Financing Motion.         Are you still there?

 10             MR. NELIGAN:        Your Honor, this is Pat Neligan.          We

 11   will get you the order for both.

 12             THE COURT:        All right.    Very good.     So if I can --

 13             MR. MUENKER:        Your Honor, I'm sorry.        I had you on

 14   mute.   I'm still here.         I was talking and couldn't figure out

 15   why no one could hear me.

 16             THE COURT:        No problem.     All right.    So if I can look

 17   to you all to prepare orders on those matters, obviously,

 18   circulating them to all of the parties who are represented on

 19   the phone today.        And if you'll also take care of preparing a

 20   form of dismissal order without prejudice in the 4008

 21   adversary.

 22        Mr. Drake, if I can look to you and your colleagues to

 23   prepare a proposed form of order for dismissal without

 24   prejudice of Adversary 4030 -- again, similarly, circulating

 25   it counsel for the Debtor, at a minimum, and I'd probably go
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  1   ahead and why don't you circulate that also to Mr. Phelan and

  2   the Committee, Mr. Leibowitz for the Committee.

  3              MR. DRAKE:       Yes, Your Honor, this is Scott Drake.

  4   We'll take care of that.

  5              THE COURT:       All right.    That concludes the matters on

  6   the --

  7              MS. SCHMIDT:       Your Honor?

  8              THE COURT:       -- 9:30 a.m. docket.       Are there any other

  9   issues that need to be taken up?

 10              MS. SCHMIDT:       Your Honor, Erin Schmidt with the U.S.

 11   Trustee's Office.         The U.S. Trustee had asked me to, if the

 12   Court had been inclined to dismiss this case, would the Court

 13   consider language in a dismissal order in which the Court

 14   would retain jurisdiction over fees and directing

 15   professionals to file fee applications within a date certain?

 16              MR. PROSTOK:       I mean, Your Honor, this is the Debtor.

 17   If the case is dismissed, there's no reason to have a fee app

 18   hearing.      I mean, I --

 19              MS. SCHMIDT:       Your Honor, --

 20              THE COURT:       Go ahead, Ms. Schmidt.

 21              MS. SCHMIDT:       Your Honor, if I can respond to that.

 22              THE COURT:       Okay.

 23              MS. SCHMIDT:       Given the Court's ruling that indicates

 24   that there might have been possible conflicts of interest, we

 25   just thought it was appropriate that -- it may be appropriate
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  1   for the Court to retain jurisdiction over fees, to determine

  2   whether professionals might have been conflicted during their

  3   representation of the Debtor.

  4              MR. PROSTOK:       Well, Your Honor, --

  5              THE COURT:       All right.    Well, why don't we do this.

  6   Why don't we, rather than making a call on this on the fly, I

  7   would be interested in seeing any authority that you all

  8   respectively may have on the appropriateness of retention of

  9   jurisdiction in a circumstance like this.

 10          So, if I can -- Ms. Schmidt, if I can look to you to

 11   submit something prior to 14 days after the entry of the

 12   dismissal order, to the extent that the U.S. Trustee wishes

 13   for jurisdiction to be retained on a limited basis for the

 14   purposes that you outlined, and then the Debtor and any other

 15   parties in interest would have an opportunity to respond to

 16   that, and then I'll try to get that knocked out quickly so

 17   that things can move on.

 18              MS. SCHMIDT:       I appreciate that, Your Honor.          Thank

 19   you.

 20              THE COURT:       All right.    Very good.     That concludes

 21   the matters on the 9:30 a.m. docket.             The Court will be in

 22   recess.

 23          (Proceedings concluded at 11:03 a.m.)

 24                                       --oOo--

 25   ///
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                                        CERTIFICATE
  1
           I certify that the foregoing is a correct transcript from
  2   the electronic sound recording of the proceedings in the
      above-entitled matter.
  3
           /s/ Kathy Rehling                                      06/12/2020
  4
      ______________________________________                   ________________
  5   Kathy Rehling, CETD-444                                       Date
      Certified Electronic Court Transcriber
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